       Case: 1:19-cv-00524 Document #: 1 Filed: 01/25/19 Page 1 of 6 PageID #:1



                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KARICE GOSS,                                           )
                                                       )
                PLAINTIFF,                             )
                                                       )       Civil Action No. 19-cv-00524
                v.                                     )
                                                       )
M3 FINANCIAL SERVICES, INC.,                           )
                                                       )       Jury Demanded
                DEFENDANT.                             )

                                           COMPLAINT

         Plaintiff, Karice Goss, brings this action under the Fair Debt Collection Practices Act, 15

U.S.C. § 1692, et seq. (“FDCPA”), and alleges:

                                 JURISDICTION AND VENUE

         1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28 U.S.C.

§1331.

         2.     Venue is proper in this District because parts of the acts and transactions occurred

here and Defendant transacts substantial business here.

                                            STANDING

         3.     Plaintiff has suffered an injury in fact that is traceable to Defendant’s conduct and

that is likely to be redressed by a favorable decision in this matter.

         4.     Defendant’s failure to report to a credit reporting agency that the debt is disputed

creates a “real risk of financial harm caused by an inaccurate credit rating.” Evans v. Portfolio

Recovery Assocs., LLC, 889 F.3d 337, 346 (7th Cir. 2018).




                                                  1
       Case: 1:19-cv-00524 Document #: 1 Filed: 01/25/19 Page 2 of 6 PageID #:2



                                              PARTIES

        5.      Plaintiff, Karice Goss (“Plaintiff’), is a resident of the State of Illinois, from

whom Defendant attempted to collect a delinquent consumer debt allegedly owed for a defaulted

Watermark Physician Services medical account. Plaintiff is thus a “consumer” as that term is

defined in 15 U.S.C. § 1692a(3) of the FDCPA and a “debtor” as that term is defined in 225

ILCS 425/2 of the Illinois Collection Agency Act.

        6.      Defendant, M3 Financial Services, Inc. (“M3”), is an Illinois corporation with its

principal place of business at 10330 West Roosevelt Road, Suite 200, Westchester, Illinois

60154. M3 does or transacts business in Illinois. Its registered agent and office is Mark Baiocchi,

1717 North Naper Boulevard, Suite 200, Naperville, Illinois 60563. (Exhibit A, Record from

Illinois Secretary of State).

        7.      M3 is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

        8.      M3 holds a collection agency license from the State of Illinois. (Exhibit B, Record

from Illinois Department of Financial & Professional Regulation).

        9.      M3 is a “debt collector” as defined at 15 U.S.C. § 1692a(6) of the FDCPA.

                                   FACTUAL ALLEGATIONS

        10.     According to Defendant, Plaintiff incurred an alleged debt for goods and services

used for personal purposes, originally for a Watermark Physician Services medical account

(“alleged debt”). The alleged debt is thus a “debt” as that term is defined at § 1692a(5) of the

FDCPA.

        11.     Due to her financial circumstances, Plaintiff cannot pay any debts, and the alleged

debt went into default.




                                                   2
      Case: 1:19-cv-00524 Document #: 1 Filed: 01/25/19 Page 3 of 6 PageID #:3



       12.     M3 subsequently began collecting the alleged debt from Plaintiff.

        13.    On October 15, 2018, Plaintiff contacted M3 by telephone.

        14.    Plaintiff was connected to an agent of M3.

        15.    Plaintiff informed M3’s agent that the debt was disputed.

        16.    On November 1, 2018, M3 communicated credit information regarding the

alleged debt to the Experian consumer reporting agency, including a balance, an account number

and the date reported. (Exhibit C, Redacted Excerpt from Plaintiff’s Experian Report).

        17.    M3 failed to communicate that Plaintiff’s alleged debt was disputed when it

communicated other information to Experian regarding the alleged debt.

        18.    M3 had been notified more than two weeks prior of Plaintiff’s dispute.

        19.    Two weeks is sufficient time for a debt collector to update their records. See

Herbert v. Monterey Financial Services, Inc., 863 F. Supp. 76 (D. Conn. 1994) (holding that five

days was enough time for a debt collector to update their records with information from a

consumer’s letter).

        20.    15 U.S.C. § 1692e of the FDCPA provides as follows:

               False or misleading representations

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section:

               . . . (8) Communicating or threatening to communicate to any person
               credit information which is known or which should be known to be
               false, including the failure to communicate that a disputed debt is
               disputed. . . .

        21.    Defendant failed to communicate a dispute to the Experian credit reporting

agency, in violation of 15 U.S.C. § 1692e(8), when it knew or should have known about the

dispute and communicated other information regarding the alleged debt to Experian.


                                                3
      Case: 1:19-cv-00524 Document #: 1 Filed: 01/25/19 Page 4 of 6 PageID #:4



           22.   Credit reporting by a debt collector constitutes an attempt to collect a debt. E.g.,

Rivera v. Bank One, 145 F.R.D. 614, 623 (D.P.R. 1993) (a creditor’s report of a debt to a

consumer reporting agency is a “powerful tool, designed in part to wrench compliance with

payment terms from its cardholder”).

           23.   M3 materially lowered Plaintiff’s credit score by failing to note Plaintiff’s

dispute.

           24.   A debt reported with no dispute results in a much lower credit score than a report

of both the debt and the dispute. Saunders v. Branch Banking and Trust Co. of VA, 526 F. 3d

142, 146-47 (4th Cir. 2008).

           25.   Defendant’s false communication to Experian causes annoyance, aggravation, and

other garden variety emotional distress.

           26.   Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership, 27 F.3d

1254, 1257 (7th Cir. 1994).

                  COUNT I- FAIR DEBT COLLECTION PRACTICES ACT

           27.   Plaintiff re-alleges the paragraphs above as if set forth fully in this count.

           28.   Defendant failed to communicate a dispute to the Experian credit reporting

agency, in violation of 15 U.S.C. § 1692e(8), when it knew or should have known about the

dispute and communicated other information regarding the alleged debt to Experian.

       WHEREFORE, Plaintiff respectfully asks this Court enter judgment in Plaintiff’s favor

and against Defendant as follows:

                         A.      Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                         B.      Statutory damages from Defendant pursuant to 15 U.S.C. §
                                 1692k(a)(2);



                                                    4
     Case: 1:19-cv-00524 Document #: 1 Filed: 01/25/19 Page 5 of 6 PageID #:5




                  C.    Costs and reasonable attorney fees pursuant to 15 U.S.C. §
                        1692k(a)(3); and

                  E.    Such other or further relief as the Court deems proper.

                                 JURY DEMAND

                           Plaintiff demands trial by jury.


                                              By: /s/Michael J. Wood
                                                 One of Plaintiff’s Attorneys



Michael Wood
Celetha Chatman
Community Lawyers Group, Ltd.
20 N. Clark Street, Suite 3100
Chicago, IL 60602
Ph: (312) 757-1880
Fx: (312) 265-3227
cchatman@communitylawyersgroup.com




                                          5
       Case: 1:19-cv-00524 Document #: 1 Filed: 01/25/19 Page 6 of 6 PageID #:6




            VERIFICATION OF COMPLAINT AND CERTIFICATION

       Pursuant to 28 U.S.C. § 1746, Plaintiff Karice Goss verifies, certifies, and

declares as follows:

       1.      I am the Plaintiff in this civil proceeding.

       2.      I have read the above-entitled civil Complaint prepared by my attorneys

and I believe that all of the facts contained in it are true, to the best of my knowledge,

information and belief formed after reasonable inquiry.

       3.      I believe that this civil Complaint is well grounded in fact and warranted

by existing law or by a good faith argument for the extension, modification, or reversal

of existing law.

       4.      I believe that this civil Complaint is not interposed for any improper

purpose, such as to harass any Defendant(s), cause unnecessary delay to any

Defendant(s), or create a needless increase in the cost of litigation to any Defendant(s),

named in the Complaint.

       5.      I have filed this civil Complaint in good faith and solely for the purposes

set forth in it.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on ______________________ .
                 Date

               __________________________________________
               Signature

                                              6
